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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MONTANA
                                 BUTTE DIVISION

   STEPHEN D. MILLER,

                  Plaintiff,                      Cause No. CV-20-47-BU-BMM

   vs.
                                                     ORDER OF DISMISSAL
   MICHAEL WEINIG AG,
                                                      WITH PREJUDICE
   MICHAEL WEINIG, INC., and
   MICHAEL WEINIG (YANTAI)
   MACHINERY CO., LTD.,

                  Defendants.


         Pursuant to the Stipulated Motion for Dismissal with Prejudice,

         IT IS HEREBY ORDERED this matter is DISMISSED WITH PREJUDICE,

with each party to bear its own attorney fees and costs.

         DATED this 22nd day of June, 2023.
